         Case 5:97-cr-00023-OLG Document 416 Filed 11/25/20 Page 1 of 3
                                                                                         FILED
                                                                                  November 25, 2020
                                                                                  CLERK, U.S. DISTRICT COURT
                                   United States District Court                   WESTERN DISTRICT OF TEXAS
                                    Western District of Texas                                                JU
                                                                               BY: ________________________________
                                     San Antonio Division                                              DEPUTY

 United States of America,
        Plaintiff,

        v.

 Robert Keith Adams,                                      No. SA-97-CR-00023-OLG(1)
        Defendant,

 and

 Santa Rosa Well Service LLC,
        Garnishee.

                                  Final Order of Garnishment

       This matter is before the Court for entry of a Final Order of Garnishment, pursuant to 18

U.S.C. § 3613 and 28 U.S.C. § 3205 of the Federal Debt Collection Procedures Act, for nonexempt

property belonging to or due to Defendant Robert Keith Adams.

       The United States filed an Application for a Writ of Garnishment seeking nonexempt

property belonging to or due to the Defendant held by Santa Rosa Well Service, LLC. The Writ

was properly served on Garnishee, Santa Rosa Well Service, LLC, which filed an Answer (Doc.

No. 410) stating that it has in its possession, custody, or control nonexempt property belonging to

or due to the Defendant. The Defendant was properly served with the Writ and notified of his right

to claim exemptions and request a hearing pursuant to 28 U.S.C. § 3205(c). (Doc. No. 192). He

has not submitted objections nor requested a hearing.

       Having considered the Application and Garnishee’s Answer and noting that the Defendant

did not filed any objections or otherwise request a hearing, the Court hereby grants the United

States’ Motion for Final Order of Garnishment and orders as follows:

       IT IS ORDERED that Garnishee, Santa Rosa Well Service, LLC, shall pay to the United

States District Clerk within 30 days from the date of this order the nonexempt property in its
             Case 5:97-cr-00023-OLG Document 416 Filed 11/25/20 Page 2 of 3



possession, custody, or control due or belonging to Defendant from the date that the Garnishee

was served with the Writ and continuing for so long as it has money due or owing to the Defendant

up to the full amount of the debt owed by the Defendant. Pursuant to 15 U.S.C. § 1673(a),

Garnishee Santa Rosa Well Service, LLC, shall pay to the United States on a monthly basis the

lesser of:

        1.      25% of Robert Keith Adams’s disposable earnings (including any
                bonuses); or

        2.      Amounts by which Robert Keith Adam’s disposable earnings (including
                any bonuses) for a week exceed 30 times the federal minimum hourly
                wage.

        IT IS ORDERED Checks shall be made payable to the “U.S. District Clerk” and

marked with the name and number of this case, “U.S. v. Robert Keith Adams, SA-97-CR-00023-

OLG(1).” Checks shall be mailed to:

                                          Clerk, USDC
                                         Attn: Mail Log
                              655 East Cesar E Chavez Blvd, Ste G65
                                    San Antonio, Texas 78206

        IT IS FURTHER ORDERED that the United States Attorney’s Office shall forward

the funds to the United States District Clerk, Western District of Texas, for application to

Defendant’s criminal debt in this case.

        IT IS ORDERED that the United States District Clerk apply all monies received to the

judgment rendered in this case.

        IT IS ORDERED that Garnishee provide to the Defendant a copy of all payment

instruments delivered pursuant to this Order, including the date and the amount of the payment

instrument.

        IT IS ORDERED that the writ of garnishment shall terminate and the Garnishee

discharged from liability once any of the provisions of 28 U.S.C. § 3205(c)(10) has been met.
         Case 5:97-cr-00023-OLG Document 416 Filed 11/25/20 Page 3 of 3



       IT IS ORDERED that the United States Attorney’s Office mail copies of this Order to

the following:

         Santa Rosa Well Service, LLC                 Robert Keith Adams
         Gabe Roman, General Manager                  P.O. BOX 1556
         1210 Pueblo St.                              Stanton, Texas 79782
         Odessa, Texas 79761                          Defendant
         Garnishee


        IT IS SO ORDERED.

         November 25, 2020
Dated: ______________________
                                          ORLANDO L. GARCIA
                                          CHIEF UNITED STATES DISTRICT JUDGE
